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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TENNESSEE
                                         WESTERN DIVISION


  SCOTT TURNAGE, CORTEZ D.                        §
  BROWN, DEONTAE TATE, JEREMY S.                  §
  MELTON, ISSACCA POWELL, KEITH                   §
  BURGESS, TRAVIS BOYD, and TERRANCE §
  DRAIN on behalf of themselves and all similarly §
  situated persons,                               §
                                                  §
         Plaintiffs,                              §
                                                  §
  v.                                              §    Case No. 2:16-cv-02907-SHM/tmp
                                                  §    Consolidated With
                                                  §    Case No.: 2:17-cv-02015-JTF/dkv

  BILL OLDHAM, in his individual capacity   §
  and in his official capacity as the Sheriff of
                                            §
  Shelby County, Tennessee; ROBERT          §
  MOORE, in his individual capacity and in  §
  his official capacity as the Jail Director of
                                            §
  the Shelby County, Tennessee; CHARLENE    §
  McGHEE, in her individual capacity and in §
  her official capacity as the of Assistant Chief
                                            §
  Jail Security of Shelby County, Tennessee;§
  DEBRA HAMMONS, in her individual          §
  capacity and in her official capacity as the
                                            §
  Assistant Chief of Jail Programs of Shelby§
  County, Tennessee; SHELBY COUNTY,         §
  TENNESSEE, a Tennessee municipality;      §
  and TYLER TECHNOLOGIES, INC., a           §
  foreign corporation,                      §
                                            §
        Defendants.                         §
  ______________________________________________________________________________

   DEFENDANT TYLER TECHNOLOGIES, INC.’S MEMORANDUM IN SUPPORT OF
       MOTION TO DISMISS SECOND AMENDED CLASS ACTION COMPLAINT
  ______________________________________________________________________________


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           Defendant Tyler Technologies, Inc. (“Tyler”) submits this Memorandum in Support of its

  Motion to Dismiss Second Amended Class Action Complaint pursuant to Federal Rule of Civil

  Procedure 12(b)(6).

                                       I.        INTRODUCTION

           Despite having now filed two amended complaints, Plaintiffs are still unable to allege

  claims against Tyler with the requisite degree of factual support required to survive a Rule

  12(b)(6) motion to dismiss. Instead, Plaintiffs continue to assert in an entirely conclusory

  manner that Tyler and its Odyssey software, which was installed at the Shelby County Criminal

  Courts, was responsible for problems at the Shelby County Jail. Plaintiffs’ allegations continue

  to confuse the limited role that Tyler and its Odyssey software played in the overall Integrated

  Criminal Justice Information System (“iCJIS”). Inexplicably, Plaintiffs have ignored the fact

  that Tyler did not provide the software for the Offender Management System at the Shelby

  County Jail, the Case Management System at the Public Defender’s Office, or the “Info Hub”

  that was responsible for integrating the various new software products into one seamless criminal

  justice information system. Tyler pointed out Plaintiffs’ mistaken impression in its first Motion

  to Dismiss [Dkt. No. 45], yet Plaintiffs continue to make the unsupported and conclusory

  allegation that Tyler’s Odyssey software is responsible for their allegedly unlawful detentions at

  the Jail. See, e.g., Second Amended Complaint at ¶121 (incorrectly alleging that Tyler installed

  Odyssey “for the Jail”).

           Plaintiffs are also unable, even after several attempts, to allege any defect in the Odyssey

  software, how Tyler’s negligence lead to such defect, and how any such defect contributed to

  any specific unlawful detention.          It is not sufficient to simply allege that Plaintiffs were

  wrongfully detained and that the detention must have resulted from an error in Shelby County’s

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  new Odyssey software that was caused by Tyler. This is especially true where the Odyssey

  software is but one part of a new iCJIS system, and where Tyler did not provide the Jail software

  integration software. In short, the most basic pleading rules have not been satisfied and the

  claims should be dismissed. In addition, as a matter of law, Plaintiffs are barred by the economic

  loss doctrine from asserting a negligence claim against Tyler. Because Plaintiffs cannot state a

  claim on which relief can be granted, the Second Amended Complaint should be dismissed as to

  Tyler pursuant to Rule 12(b)(6).

                                     II.      FACTUAL BACKGROUND

           Tyler is a leading provider of information management solutions and services for local

  governments.         Tyler helps its public sector clients—cities, counties, schools and other

  government entities—to become more efficient, more accessible, and more responsive to the

  needs of their constituents. Tyler’s client base includes more than 15,000 local government

  offices in all 50 states, Canada, the Caribbean, and various other international locations. Tyler’s

  Odyssey software is but one of many products and services offered to its customers.

           On July 22, 2013, following a public Request for Proposal, Tyler and Shelby County

  entered into a contract for Tyler to provide a “Court Management System for the Shelby County

  General Sessions Criminal Court Division, Shelby County Criminal Court and PreTrial Services”

  (the “Contract”). Exhibit 1 at p.1.1 Per the Contract’s Statement of Work, Tyler was required to


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    The Second Amended Complaint contains specific references to the Contract and the attached Statement of Work.
  See, e.g., Second Amended Complaint at ¶¶39-42. “When a court is presented with a Rule 12(b)(6) motion, it may
  consider the Complaint and any exhibits attached thereto, public records, items appearing in the record of the case
  and exhibits attached to defendant’s motion to dismiss so long as they are referred to in the Complaint and are
  central to the claims contained therein.” Bassett v. Nat'l Collegiate Athletic Ass'n, 528 F.3d 426, 430 (6th Cir.2008)
  (citing Amini v. Oberlin Coll., 259 F.3d 493, 502 (6th Cir. 2001)) (emphasis added). Because the Contract and
  Statement of Work are referred to in the Complaint and are central to the claims against Tyler, it is appropriate for
  the Court to consider them in connection with this motion. Moreover, because of the nature of the Contract, it is a
  publicly available document that can be accessed at www.shelbycountytn.gov. For this additional reason, it is
  proper for the Court to consider the Contract in connection with this Motion.

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  implement its Odyssey software “within Shelby County for the Clerk of the Criminal Court and

  the Criminal Division of the General Sessions Clerk’s Office.” Id. at p. 21. According to the

  Contract, Odyssey was to replace “Shelby County’s in house developed Court Case management

  System, JSS.” Id. The Contract contemplated that Tyler would provide the “current version of

  Odyssey” to Shelby County and would undergo a “Fit Analysis” as necessary to support Shelby

  County’s business. Exhibit 1, Statement of Work, pp. 4, 8.

           Importantly, the Contract confirmed that the scope of Tyler’s involvement in the overall

  iCJIS project was limited, in that it did not extend to the Jail software or the Info Hub:

           In conjunction with the replacement of JSS, Shelby County will also be replacing
           JMS -- its current Jail Management System used by the Jail and IMS -- the current
           Inmate Management System used by the Correction Center. The current
           JMS/IMS/JSS systems are tightly integrated with a custom written interface. The
           new iCJIS will be integrated using a service Oriented Architecture solution and an
           Enterprise Service Bus solution (Info Hub). Software AG’s webMethods will be
           the Info Hub solution and Global Tel*Link’s DSI Offender Management
           System will be implemented for the Jail and the Correction Center. New
           Dawn’s JustWare will be used for Case Management by the Public Defender’s
           Office and the Attorney General’s Office.
           The new Offender Management System, the Court Case Management System and
           the Public Defender CMS will be part of the Enterprise Service Bus solution (Info
           Hub) as well as integrated with Shelby County’s current document management
           solution, OnBase. These systems will be so integrated that a single system will
           not be able to go live without the data exchanges in place from the other iCJIS
           systems. The timelines of the Court System Statement of Work is dependent
           upon the timelines of the other iCJIS partners.
  Id. at pp. 21-22 (emphasis added).

           Contrary to Plaintiffs’ suggestion (Second Amended Complaint ¶ 41), the Contract

  expressly provided that the integration of Odyssey into iCJIS was not the responsibility of Tyler.

  Instead, the Contract notes that “all data translations that need to be done in order to map data

  from Odyssey to the Hub/ESB and other agencies [including the Jail] integrated via the Hub/ESB




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  will be performed by the County’s System’s Integrator, which at the time [the Contract] was

  written ha[d] yet to be awarded.” Exhibit 1, Statement of Work, p. 5.

           The Statement of Work also provided for testing of Odyssey prior to going live and other

  software-related services. Exhibit 1, Statement of Work, pp.16-18. On November 7, 2016,

  Shelby County went “live” with the new iCJIS system. Second Amended Complaint ¶ 51.2

           On January 9, 2017, Plaintiffs Brown, Tate and Melton filed a putative class action,

  alleging that Shelby County had violated their constitutional rights by unlawfully detaining them

  for longer periods of time than appropriate in the Shelby County Jail (the “Brown Case”). On

  March 13, 2017, the Brown Case was consolidated with a pending matter styled Powell v.

  Oldham, Case No. 2:16-cv-02907, which made similar allegations of wrongful detention at the

  Shelby County Jail. On March 24, 2017, Plaintiffs filed an Amended Consolidated Class Action

  Complaint in the consolidated action.

           On April 7, 2017, Tyler filed a Motion to Dismiss, which asserted that Plaintiffs had not

  alleged, with sufficient detail, any basis for a negligence claim against Tyler and also sought

  dismissal based on the economic loss doctrine. On May 4, 2017, Plaintiffs filed the Second

  Amended Complaint, which asserts a Section 1983 claim against Shelby County, Sherriff

  Oldham and certain Shelby County jail officials.

           In addition, Plaintiffs assert a Tennessee state law claim for negligence against Tyler,

  claiming that Tyler negligently developed and installed the “criminal court and jail inmate

  tracking computer systems.” Second Amended Complaint ¶119. Despite Tyler’s effort in its

  initial Motion to Dismiss to clarify Odyssey’s role in iCJIS and to point out Plaintiffs’ apparent

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    Contrary to Plaintiffs’ allegation in Paragraph 51 of the Second Amended Complaint that “Defendants Oldham,
  Moore, McGhee and Hammons went ‘live’ with the Odyssey Case management System,” Sheriff Oldham and the
  other individual defendants were not responsible for the Odyssey implementation. This allegation appears to be yet
  another example of Plaintiffs conflating the Odyssey with the separate Jail software.

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  misunderstanding, Plaintiffs made no effort in the Second Amended Complaint to address these

  concerns. Instead, Plaintiffs continued to incorrectly allege that Odyssey was “for the Jail” and

  that Tyler was responsible for the “jail inmate tracking computer systems.” Second Amended

  Complaint at ¶¶119, 121. Even in the face of Tyler’s Motion, Plaintiffs made no effort to specify

  the involvement Tyler allegedly had in the “jail inmate tracking” system used at the Shelby

  County Jail or how the implementation of the Odyssey software at the Shelby County Criminal

  Courts contributed to the problems that allegedly occurred at the Jail. Nor did Plaintiffs plead

  any facts whatsoever to support the suggestion that Tyler negligently designed or implemented

  the Odyssey software or that Tyler’s negligence was the proximate cause of any alleged injury to

  any of the specified Plaintiffs.

           In fact, Plaintiffs appear to have doubled-down on their reliance on conclusory

  allegations by adding a claim for Negligent Training and Supervision against Tyler. In this

  claim, Plaintiffs plead only the bald conclusion that Tyler had a duty to train and supervise both

  its employees and Shelby County’s, and that Tyler failed to do so. Second Amended Complaint

  at ¶¶124-25.        Nowhere do Plaintiffs allege how Tyler allegedly failed in its training or

  supervision or how that failure was the cause-in-fact of any injury to Plaintiffs. Again, Plaintiffs

  are missing not only the factual support for their claims, but the necessary causal link between

  Tyler’s alleged conduct and Plaintiffs’ alleged harm.

           Based on these facts, Plaintiffs’ Second Amended Complaint should be dismissed for

  two, independent reasons. First, the Second Amended Complaint fails to allege sufficient facts

  to support either a negligence claim or a negligent training or supervision claim as a matter of

  law. Second, Plaintiffs’ claim for negligence is barred by the economic loss doctrine, which



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  prohibits the recovery of purely economic damages for negligence because Plaintiffs lack privity

  of contract with Tyler.

                                III.   ARGUMENT AND AUTHORITIES

           A.        Plaintiffs’ Claims Against Tyler Fail as a Matter of Law.

           Pursuant to Rule 12(b)(6), a party may move to dismiss a cause of action for failure to

  state a claim upon which relief can be granted. Under the Supreme Court’s decision in Ashcroft

  v. Iqbal, “a complaint must contain sufficient factual matter, accepted as true, to ‘state a claim

  for relief that is plausible on its face’ to survive a Rule 12(b)(6) motion to dismiss.” 556 U.S.

  662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). This requires

  “more than a sheer possibility” of entitlement to relief. Id. (quoting Twombly, 550 U.S. at 555).

  Rule 8 does not require pleadings to contain “detailed factual allegations,” but it does demand

  more than an “unadorned, the-defendant-unlawfully-harmed-me accusation.” Iqbal, 556 U.S. at

  678 (quoting Twombly, 550 U.S. at 555). “A pleading that offers ‘labels and conclusions’ or ‘a

  formulaic recitation of the elements of a cause of action will not do’”; “[n]or does a complaint

  suffice if it tenders ‘naked assertion[s]’ devoid of ‘further factual enhancement.’” Id. (quoting

  Twombly, 550 U.S. at 555). Moreover, “[a]lthough for the purposes of a motion to dismiss [the

  court] must take all of the factual allegations in the complaint as true, it is ‘not bound to accept as

  true a legal conclusion couched as a factual allegation.’” Iqbal, 556 U.S. 678 (quoting Twombly,

  550 U.S. at 555). Plaintiffs’ allegations here fail, as a matter of law, to properly allege a claim

  under the standards established by Iqbal and Twombly.

                     1.       Plaintiffs’ Negligence Claim Fails

           With regard to the Plaintiffs’ negligence claim, the allegations against Tyler are merely

  conclusory, formulaic recitations that are devoid of any supporting facts. Under Tennessee law,

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  “[i]n order to establish a prima facie claim of negligence ... a plaintiff must establish the

  following essential elements: ‘(1) a duty of care owed by defendant to plaintiff; (2) conduct

  below the applicable standard of care that amounts to a breach of that duty; (3) an injury or loss;

  (4) cause in fact; and (5) proximate, or legal, cause.’” Giggers v. Memphis Hous. Auth., 277

  S.W.3d 359, 364 (Tenn. 2009) (quoting McCall v. Wilder, 913 S.W.2d 150, 153 (Tenn. 1995));

  see also Yarnell v. Transamerica Life Ins. Co., 694 F. Supp. 2d 849, 853 (E.D. Tenn. 2010).

  “[N]egligence is not presumed from the mere fact of an accident or injury.” Kae v. Cumberland

  Univ., No. 3:15-00082, 2016 WL 3632804, at *5 (M.D. Tenn. July 7, 2016).

           The entirety of the negligence allegation against Tyler is found in Paragraphs 119-122 of

  the Second Amended Complaint:

           119. As a software company specializing in the development and installation of
           criminal court and jail inmate tracking computer systems, Defendant Tyler Tech owed [a]
           duty of reasonable care to Plaintiff and Class Members to ensure that its Odyssey Case
           Management System would work in a proper manner such that their rights to be released
           from incarceration would and could be timely honored.

           120. These duties arose when Defendant Tyler undertook to provide services in
           connection with the software implementation in its Contract with the County “for Court
           Management System.”

           121. Defendant, however, breached these duties with its development and installation
           of Odyssey for the Jail.

           122. As a direct and proximate result of the negligence of Defendant Tyler Tech,
           Plaintiffs and the Class Members have suffered damages. Under this Count, Plaintiffs and
           the Class Members do not seek “economic damages” as defined by Tennessee law,
           including Tenn. Code Ann. § 29-29-101(1), from Defendant Tyler Tech.

           These allegations do not state a sufficient claim for negligence for at least two reasons.

  First, these allegations are premised on incorrect information regarding Tyler’s role in iCJIS.

  Paragraph 121 of the Second Amended Complaint alleges that Tyler breached its duties “with its

  development and installation of Odyssey for the Jail.” Tyler’s Odyssey software, however, was


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  not developed or installed at the Jail. This allegation alone, which forms the cornerstone of

  Plaintiffs’ negligence claim, provides a basis for dismissal.

           Plaintiffs echo the same incorrect characterization elsewhere in the Second Amended

  Complaint. For example, Plaintiffs incorrectly characterize Odyssey as the “heart” of iCJIS, see

  Second Amended Complaint ¶ 22, hoping to implicate it, by default, as the cause of Plaintiffs’

  alleged injury. In reality, and as the Second Amended Complaint even establishes through its

  incorporation by reference of the Contract, the opposite is true—namely that Tyler was not

  responsible for the “jail inmate tracking computer systems” and did not install Odyssey “for the

  Jail.”    Plaintiffs also repeatedly refer to Tyler as having responsibility for the “Computer

  Tracking System,” implying that Odyssey had responsibility for tracking inmates through iCJIS

  from start to finish. As described above, that is not what the Contract provides. Tyler’s Odyssey

  software was implemented in, and only in, the Shelby County Criminal Courts. Other parties

  were responsible for the implementation of the Jail software, the integration HUB, and even the

  specific integration of Odyssey’s information into iCJIS. Exhibit 1, Statement of Work, pp. 2, 5.

           Because Tyler pointed out these deficiencies in its Motion to Dismiss and Plaintiffs chose

  not to correct the errors in the Second Amended Complaint, it appears that Plaintiffs are unable

  to provide more specific details regarding the role the Odyssey software plays, as compared with

  the other portions of the iCJIS system. Because the Second Amended Complaint is based on an

  incorrect factual premise, it should be dismissed in its entirety without any further opportunity to

  replead a third time.

           Second, and regardless of the incorrect premise upon which the claim is based, the

  Second Amended Complaint contains no allegation of how Tyler’s Odyssey software for the

  courts was the “cause in fact” of any alleged injury to Plaintiffs, let alone the proximate cause.

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  Nor does the Second Amended Complaint include any specific allegation about how Tyler

  allegedly breached a duty in its development or installation of Odyssey.

           Instead, the Second Amended Complaint merely contains conclusory statements

  regarding Odyssey’s involvement in Plaintiffs’ specific detentions. For example:

          Plaintiff Brown alleges that the charges against him were dismissed on November 7,

           2016, but he was not released from the Shelby County Jail until November 14, 2016.

           Second Amended Complaint ¶ 77.          Plaintiff Brown, however, makes no allegation

           regarding how Tyler’s Odyssey software was allegedly responsible for his detention or

           how Tyler’s Odyssey implementation was negligent. The same is true for Plaintiff

           Melton. See Second Amended Complaint at ¶ 79.

          Plaintiffs Burgess, Powell, Boyd, Drain and Turnage each allege that he was improperly

           detained because the Odyssey software did not reflect certain information.         Second

           Amended Complaint ¶¶ 75, 81, 83, 85, 90. These allegations suggest that the issues

           either stemmed from data entry errors or occurred in the Jail software or at the Info Hub.

           They do not suggest a problem with the Odyssey software. There is no factual allegation

           that the alleged data entry failures were the responsibility of Tyler or that they resulted

           from an Odyssey software problem arising from negligent design or implementation by

           Tyler.

          With regard to Plaintiff Turnage, the alleged error was Odyssey’s alleged failure to purge

           an expired Attachment Pro Corpus, resulting in Turnage’s arrest. Second Amended

           Complaint ¶¶60-75. The Attachment Pro Corpus, however, is a civil court document,

           which, as the Second Amended Complaint states, was reflected on the docket of a civil



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           collections matter. Second Amended Complaint ¶ 64. Any responsibility to purge that

           document did not fall on Odyssey, which had no responsibility for the civil court

           docketing system. And, Plaintiffs have not alleged any facts to establish otherwise.

                     2.       Plaintiffs’ Negligent Training and Supervision Claim Is Also
                              Insufficiently Pled.

           Plaintiffs’ cause of action for negligent training and supervising also runs afoul of the

  pleading requirements established by Iqbal and Twombly. Under Tennessee law, in addition to

  the traditional elements of negligence (duty, breach, causation, and damages), a plaintiff

  claiming negligent supervision must show “that the employer had knowledge of the employee's

  unfitness for the job.” Doe v. Catholic Bishop for Diocese of Memphis, 306 S.W.3d 712, 717

  (Tenn. App. Ct. 2008). Here, the sole allegation of liability is that “Defendant Tyler further

  undertook the duties of training and supervising the Court’s employees with respect to Odyssey

  and its functionality with the iCJIS system.         Defendant Tyler failed to properly train and

  supervise these employees.” Second Amended Complaint ¶ 45; see also ¶ 124 (same). Plaintiffs

  have not plead a single fact regarding what training or supervisory role specifically Tyler had,

  how Tyler was negligent in its training or supervision, what errors are attributable to negligent

  training or supervision, how such negligent training or supervision is the proximate cause of any

  specific Plaintiffs’ alleged injury, whether specific employees were unfit for the job, or whether

  Tyler had knowledge of the employees’ alleged unfitness for the job.

           Indeed, as the Second Amended Complaint recognizes (see ¶124), Plaintiffs’ basis for

  “asserting” a negligent hiring and supervision claim appears to be the desire to avoid the

  economic loss doctrine, which recognizes a specific exception in the context of negligent

  supervision. See Acuity v. McGhee Eng’g, Inc., 297 S.W.3d 718, 734 (Tenn. Ct. App. 2008).


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  Plaintiffs should not, however, be permitted to maintain a cause of action based only on their

  conclusory allegations.        See generally Iqbal, 556 U.S. at 678; Twombly, 550 U.S. at 555

  (pleadings that offers only “a formulaic recitation of the elements of a cause of action will not

  do”).

                     3.       Plaintiffs Improperly Lump “Defendants” Together.

           The Second Amended Complaint continues to repeatedly use vague references to the

  term “Defendants,” improperly lumping Tyler in with the other defendants. See, e.g., Second

  Amended Complaint ¶¶ 1, 25, 26, 30, 49, 50, 56, 59, 76, 78, 112 (alleging, for example, that

  “Defendants made a deliberate choice to follow a course of action” and “Defendants were the

  officials responsible for establishing the final policy with regard to implementing a competent

  and efficient Computer Tracing System”). This type of group pleading is impermissible and

  underscores the Second Amended Complaint’s inability to allege facts specific to Tyler. See,

  e.g., Bondex Int’l, Inc. v. Hartford Accident and Indem. Co., 667 F.3d 669, 681 (6th Cir. 2011)

  (finding that “the pleadings’ generic references to the misconduct of ‘all Defendants’” were

  “threadbare allegations” that did not satisfy pleading standards without linking factual

  allegations to a specific Defendant).

           Plaintiffs have plead nothing more than unsupported, conclusory allegations that do not

  withstand the scrutiny of Iqbal and Twombly and should be dismissed. Iqbal, 556 U.S. at 678

  (“Threadbare recitals of the elements of a cause of action, supported by mere conclusory

  statements, do not suffice.”) (citing Twombly, 550 U.S. at 555); see also Thompson v. City of

  Memphis, No. 09-2658, 2011 WL 3567436, at *1 (W.D. Tenn. August 15, 2011) (“Plaintiffs’

  complaint is merely a restatement of Plaintiffs’ conclusory allegations coupled with a formulaic

  recitation of the statutory elements. This is insufficient to meet the threshold Rule 12(b)6)

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  standard.”). Nothing in the Second Amended Complaint even suggests a connection between

  Tyler’s implementation of Odyssey at the Shelby County Criminal Courts and Plaintiffs’

  incarceration at the Shelby County Jail. Based on the fact that Plaintiffs have already filed two

  amended complaints, neither of which has come close to overcoming these deficiencies, it would

  be futile to allow Plaintiffs another attempt to replead.

           B.        The Economic Loss Rule also Bars Plaintiffs’ Negligence Claim.

           Plaintiffs’ claim for negligence also fails based on the application of the economic loss

  doctrine. The economic loss doctrine is “a judicially created principle that reflects an attempt to

  maintain separation between contract law and tort law by barring recovery in tort for purely

  economic loss.” Lincoln Gen. Ins. Co. v. Detroit Diesel Corp., 293 S.W.3d 487, 488 (Tenn.

  2009). The Tennessee Supreme Court has described the doctrine as “a general principle that

  prohibits the recovery of purely economic damages for negligence when the plaintiff lacks

  privity of contract with the defendant.” John Martin Co. v. MorselDiesel, Inc., 819 S.W.3d 428,

  430 (Tenn. 1991). The Tennessee Supreme Court agreed with the policy behind the economic

  loss doctrine in Ritter v. Custom Chemicides, Inc., 912 S.W.2d 128, 133 (Tenn. 1995), and a

  number of Tennessee appellate courts and federal district courts applying Tennessee law have

  applied the doctrine in various contexts. See, e.g., United Textile Workers v. Lear Siegler

  Seating Corp., 825 S.W.2d 83, 84 (Tenn. Ct. App. 1990) (“Lear Seigler”); Ladd Landing, LLC v.

  Tenn. Valley Authority, 874 F. Supp. 2d 727 (E.D. Tenn. 2012).

           The economic loss doctrine has its origins in the U.S. Supreme Court’s decision in

  Robins Dry Dock & Repair Co. v. Flint, 275 U.S. 303 (1927). In Robins, the defendant dry dock

  company negligently damaged a ship’s propeller resulting in a delay in the ship’s return to

  service. Id. at 307-08. The plaintiff lost use of the ship, resulting in economic losses for the

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  charterer of the ship. The Supreme Court refused to permit the ship charterer to recover on a

  negligence claim, stating that “as a general rule . . . a tort to the person or property of one man

  does not make the tort-feasor liable to another merely because the injured person was under a

  contract with that other unknown to the doer of the wrong. The law does not spread its

  protection so far.” Id. at 309 (citations omitted).

           The economic loss doctrine was first applied by the Tennessee Court of Appeals in Lear

  Siegler. There, union workers at a paint factory brought an action against the owner of a

  neighboring factory to recover lost earnings resulting from the temporary closure of the

  industrial park in which both factories were located. 825 S.W.3d at 83. The neighboring factory

  owner had stacked metal racks next to a propane tank storage area, which resulted in a leak that

  shut down the industrial park. Notwithstanding the factory owner’s alleged negligence, the court

  decided to “follow the majority rule” and “disallow recovery for purely economic loss absent

  physical injury or property damage.” Id. at 87.

           Since Lear Siegler, which remains good law in Tennessee,3 a number of other Tennessee

  courts have applied the economic loss doctrine. See, e.g., Acuity v. McGhee Eng’g, 297 S.W.3d

  718, 734 (Tenn. Ct. App. 2008) (“[t]he economic loss doctrine provides that, absent privity, one

  may not recover in negligence where there is no injury to person or property”); Lincoln Gen.

  Ins., 293 S.W.3d at 491 (applying the economic loss doctrine in the context of a products liability

  case).




  3
    Because Lear Siegler is a published decision by the Tennessee Court of Appeals that has not been
  overruled or modified by a subsequent decision of the Tennessee Supreme Court, it is controlling
  authority on this Court. See, e.g., Meadows v. State, 849 S.W.2d 748, 752 (Tenn. 1993).


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           Tyler recognizes that there is a split of authority among the federal district courts

  applying Tennessee law regarding whether the economic loss doctrine applies outside the context

  of products liability cases or cases involving the sale of goods pursuant to the UCC. Compare

  Ladd Landing, 874 F. Supp. 2d at 729-31 (concluding that, based on Lear Siegler, there is no

  basis to limit the application of the economic loss doctrine to strictly products liability cases or

  UCC cases), with Ham v. Swift Transp. Co., 694 F. Supp. 2d 915, 922 (W.D. Tenn. 2010)

  (finding that the economic loss doctrine should be restricted to “claims involving products

  liability or the sale of goods, at least where the plaintiff can establish a sufficiently direct

  relationship between the defendant’s negligent act and the plaintiff’s economic loss”). As an

  initial matter, Ladd Landing, which was decided after Ham, is more consistent with the

  application of the economic loss doctrine in Lear Siegler.

           Moreover, because Plaintiffs’ negligence claim seems to relate to the ability of Tyler’s

  Odyssey software to perform in the manner required by the Contract, this matter not only

  involves the sale of goods, it is akin to a products liability matter alleging that the Odyssey

  software was defectively developed and implemented. Thus, the policy reasons for applying the

  economic loss doctrine in products liability or UCC cases are equally applicable here and dictate

  in favor of the application of the doctrine to Plaintiffs’ claims. See, e.g., Shema Kolainu-Hear

  Our Voices v. Providersoft, LLC, 832 F. Supp. 2d 194 (E.D.N.Y. 2010) (applying economic loss

  doctrine to bar recovery for negligence claim arising from allegation of defective software);

  Hou-Tex, Inc. v. Landmark Graphics, 26 S.W.3d 103 (Tex.App.—Houston [14th Dist.] 2000)

  (holding that economic loss doctrine precluded recovery in tort against software developer);

  Huron Toll & Eng. Co. v. Precision Consulting Servs., Inc., 532 N.W.2d 541 (Mich. Ct. App.



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  1995) (recognizing applicability of economic loss doctrine to nonintentional tort claims arising

  from software defects).

           Plaintiffs’ Second Amended Complaint attempts to avoid the application of the economic

  loss rule by alleging that the Contract is one for services and not goods. Second Amended

  Complaint ¶¶ 39-40, 120. Plaintiffs, however, have ignored the fact that Tennessee applies the

  “predominant purpose” test to determine whether a “hybrid” or “mixed” contract for the sale of

  both goods and services is predominantly a sale of (i) a product subject to the economic loss

  doctrine or (ii) a contact for services not subject to the doctrine. See, e.g., Hudson v. Town and

  Country True Value Hardware, Inc., 666 S.W.2d 51, 54 (Tenn. 1984).4

           Numerous courts have held that contracts for the sale of software that involve

  implementation services such as those delivered under the Contract here are contracts for the sale

  of goods subject to the UCC. See, e.g., Audio Visual Artistry v. Tanzer, 403 S.W.3d 789, 796-

  804 (Tenn. Ct. App. 2012) (concluding that contract for installation and maintenance of smart

  home software system was a contract for the sale of goods); Springbrook Software, Inc. v.

  Douglas County, No. 13-cv-760-slc, 2015 WL 2248449, *12-15 (W.D. Wis. 2015) (applying the

  economic loss doctrine to contract for software system with Douglas County, Wisconsin deemed

  to be for sale of goods); Micro Data Base Systems, Inc. v. Dharma Systems, Inc., 148 F.3d 649,

  654-55 (7th Cir. 1998) (finding that sale of custom software involves a sale of goods); RXX

  Industries, Inc. v. Lab-Con, Inc., 772, F.2d 543, 546-47 (9th Cir. 1985) (finding that the sale of

  medical software was a sale of goods despite provisions in the contract for the training, repair


  4
    Plaintiffs’ use of legal citations in its Second Amended Complaint in an effort to support the bald legal conclusion
  that the Contract is not one for the sale of goods runs afoul of Iqbal and Twombly’s pleading rules, which emphasize
  that this Court is not required to accept legal conclusions couched as factual allegations. Iqbal, 556 U.S. 678
  (quoting Twombly, 550 U.S. at 555). Plaintiffs have pleaded no facts to support the suggestion that the Contract is
  not predominately one for the sale of the Odyssey software.

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  and upgrading of the software); Colonial Life Ins. Co. of Am. v. Electronic Data Systems Corp.,

  817 F. Supp. 235, 239 (D. N.H. 1993) (where essence of contract was to license a computer

  software product, contract is for the sale of a good). Because the Contract was predominately for

  the sale of the Odyssey software and Tyler’s services were ancillary to that primary goal, the

  Contract was one for the sale of goods and the economic loss doctrine applies.

           From a policy perspective, this is precisely the type of case in which the economic loss

  doctrine was designed to apply. As noted, the doctrine had its genesis in the U.S. Supreme

  Court’s Robins decision, which warned of the dangers of expanding the duties arising from

  contractual relationships beyond the confines of the contract and morphing those duties into tort-

  based duties to third parties. See Robins, 275 U.S. at 309; see also Lincoln Gen. Ins., 293

  S.W.3d at 488 (emphasizing the need to distinguish between contract and tort law). Here, to the

  extent there is any dispute arising out of or relating to Tyler’s obligations under the Contract, it is

  a contractual dispute to be addressed by the parties to it: Tyler and Shelby County.

           Tyler’s contractual duties to the County should not be expanded into tort duties to third

  parties. As the Supreme Court said, “[t]he law does not spread its protection so far.” Robins,

  275 U.S. at 309. This is especially true where third parties suffer solely economic losses that

  would typically be recoverable only in contract. In sum, because Plaintiffs have not and cannot

  allege any specific or actual physical injury, the economic loss doctrine applies in this case and

  bars Plaintiffs’ negligence claim against Tyler.

           Plaintiffs desire to avoid the economic loss rule by stating in a conclusory fashion that

  Plaintiffs are not seeking economic losses, but instead are entitled to $48,000 per day for each

  Plaintiff as compensation for a “loss of liberty” associated with allegedly unlawful detention at

  the Shelby County Jail. Second Amended Complaint ¶ 95–96. And, Plaintiffs plead “damages

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  for ‘tangible injury,’ including embarrassment, emotion [sic] suffering and any physical harm.”

  Second Amended Complaint ¶ 98. However, negligence damages for a “loss of intangible

  rights” or “loss of liberty” are not available under Tennessee law.5 Furthermore, Plaintiffs in this

  case have not alleged any specific physical harm,6 embarrassment, or emotional suffering.7

  Second Amended Complaint ¶ 96. In the absence of specific allegations identifying a certain

  “tangible injury,” Plaintiffs’ alleged losses for wrongful incarceration should not be treated as

  tangible injuries for purposes of the economic loss rule.8



  5
     Tyler has not found any case in which a Tennessee or federal court has permitted compensatory
  damages for negligence on such a theory. The cases that Plaintiffs rely on are inapposite. Rhodes v.
  Lauderdale Cty., Tenn., 2012 WL 4434722 (W.D. Tenn. Sept. 24, 2012), and Martinez v. Port Auth. Of
  N.Y., 2005 WL 2143333, (S.D.N.Y. Sept. 2, 2005), both solely concern damages for § 1983 civil rights
  actions, which are distinctly designed to provide compensation for violations of civil rights. Baker v.
  McCollan, 443 U.S. 137, 146 (1979) (“Section 1983 imposes liability for violations of rights protected by
  the Constitution, not for violations of duties of care arising out of tort law.”).
  6
     Tennessee law has recognized that wrongful incarceration does not translate to “physical injury.” See,
  e.g., Pierce v. Stinson, 493 F. Supp. 609, 611 (E.D. Tenn. 1979) (unlawful incarceration not considered to
  be physical injury for purposes of determining whether adult plaintiffs have no right to recover damages
  for minors); see also Mosely v. State, 475 S.W.3d 767, 773 (Tenn. Ct. App. 2015) (“Here, there are no
  allegations that any person or instrumentality in the care, custody, or control of the State caused any
  physical injuries to Mr. Mosley; instead, the only injury alleged by Mr. Mosley concerns the State’s
  statutory duty to release Mr. Mosely from confinement.”); Blalock v. Preston Law Group, P.C., No.
  M2011-00351-COA-R3-CV, 2012 WL 4503187, at *7 (Tenn. Ct. App. Sept. 28, 2012) (citing Tenn.
  Code Ann. § 28-3-104 and noting that it references wrongful imprisonment as a misuse of the legal
  system, but not as a claim involving physical injury).
  7
    To the extent a negligence claim for stand-alone emotional distress or embarrassment damages remains,
  Plaintiffs have not met the requisite pleading standards under Tennessee law. See Camper v. Minor, 915
  S.W.2d 437, 446 (Tenn. 1996) (holding that a stand-alone claim for negligent infliction of emotional
  distress, which is analyzed under Tennessee’s general negligence framework, requires proof that: (1) the
  emotional injury is “serious” or “severe,” and (2) support by “expert medical or scientific proof.”); West
  v. Genuine Parts Co., No. 3:11-CV-252, 2011 WL 4356361, at *2 (E.D. Tenn. Sept. 16, 2011)
  (dismissing case because plaintiff failed to allege a “serious or severe emotional injury . . . . which would
  disable a reasonable, normally constituted person from adequately coping with the alleged mental stress).
  8
    Plaintiffs’ reliance on Tenn. Code Ann. § 29-39-101(1) (see Second Amended Complaint ¶126) is
  misplaced in this context. That section, which provides a definition of “noneconomic damages” solely for
  purposes of Title 29, Chapter 39 of the Code, has not been applied in the context of the economic loss
  doctrine or otherwise outside of the specific context of Title 29, Chapter 39. In fact, Chapter 39 itself
  states that “[n]othing in this chapter shall be construed to create or enhance any claim, right of action,

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           WHEREFORE, Tyler respectfully requests that the Court grant its Motion to Dismiss

  and grant such other and further relief to which Tyler may be entitled.



  Dated: May 26, 2017
                                               Respectfully submitted,


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  civil liability, economic damage or noneconomic damage under Tennessee law.” Tenn. Code. Ann. § 29-
  39-102(m).


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                                 CERTIFICATE OF SERVICE
          The undersigned attorney hereby certifies that on May 26, 2017, a true and correct copy
  of the foregoing document was forwarded by electronic means through the Court’s ECF System
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